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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


    JUAN LOZADA-LEONI,                             §
    Plaintiff,                                     §
                                                   §
    v.                                             §
                                                   §           Civil Action No. 4:20-cv-00068
                                                   §
    MONEYGRAM INTERNATIONAL,                       §                     RWS-CMC
    INC., and MONEYGRAM                            §
    PAYMENT SYSTEMS, INC.,                         §
    Defendants                                     §
                                                   §
                                                   §



            ORDER GRANTING INTERVENOR KLG’S MOTION TO FILE UNDER SEAL

          Before the Court is Intervenor KLG’s Motion to File Under Seal (Docket No. 148).

   The Court, having reviewed the motion and noting it is unopposed, is of the opinion the motion
       .
   should be GRANTED. The Court hereby
          ORDERS that
              (1) “Lozada’s Response to Kardell’s Request for Attorney Fees”, to be filed
              12/18/2020; and

                  (2) both parties’ submissions, due 01/02/2021; and

                  (3) both parties’ submissions, due 01/15/2021

          are to be filed under seal.



   SO ORDERED.
            SIGNED this 21st day of December, 2020.




                                                               ____________________________________
                                                               CAROLINE M. CRAVEN
                                                               UNITED STATES MAGISTRATE JUDGE
   Order Granting Intervenor KLG’s Motion to File Under Seal                              Page 1 of 1
